     Case 4:19-cv-07123-PJH Document 105-1 Filed 06/24/20 Page 1 of 2




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 8                              UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                    OAKLAND DIVISION

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              [PROPOSED] ORDER GRANTING
                                               DEFENDANTS NSO GROUP
13               Plaintiffs,                   TECHNOLOGIES LIMITED
                                               AND Q CYBER TECHNOLOGIES
14         v.                                  LIMITED’S MOTION TO DISMISS
                                               PLAINTIFFS’ REQUEST FOR
15   NSO GROUP TECHNOLOGIES LIMITED            INJUNCTIVE RELIEF
     and Q CYBER TECHNOLOGIES LIMITED,
16

17               Defendants.

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     [PROPOSED] ORDER GRANTING                                   Case No. 4:19-cv-07123-PJH
     MOTION TO DISMISS REQUEST FOR
     INJUNCTIVE RELIEF
     Case 4:19-cv-07123-PJH Document 105-1 Filed 06/24/20 Page 2 of 2




 1          The Court, having heard argument on the motion of Defendants NSO Group

 2   Technologies Limited and Q Cyber Technologies Limited (“NSO”) to dismiss Plaintiffs’ request

 3   for injunctive relief and having given full consideration of Defendants’ motion, all points and

 4   authorities filed in support of, and in opposition to, the motion, hereby finds that Plaintiffs lack

 5   standing to seek injunctive relief because they do not allege that they face any “imminent” or

 6   “certainly impending” future harm. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013);

 7   see Phillips v. Apple Inc., 725 F. App’x 496, 498 (9th Cir. 2018); Palmer v. Apple Inc., 2016 WL

 8   1535087, at *4 (N.D. Cal. Apr. 15, 2016); Opperman v. Path, Inc., 87 F. Supp. 3d 1018, 1029

 9   (N.D. Cal. 2014); Matera v. Google Inc., 2016 WL 5339806, at *15–16 (N.D. Cal. Sept. 23,

10   2016). Accordingly, the Court lacks subject-matter jurisdiction over Plaintiffs’ request for an

11   injunction, and the request must be dismissed. Clapper, 568 U.S. at 408.

12          GOOD CAUSE THEREFOR APPEARING, IT IS HEREBY ORDERED:

13          Plaintiffs’ request for injunctive relief is dismissed with prejudice.

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15          IT IS SO ORDERED.

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17   Dated: ________________, 2020                  _________________________________________
                                                    THE HONORABLE PHYLLIS J. HAMILTON
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                                                    CHIEF UNITED STATES DISTRICT JUDGE
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      [PROPOSED] ORDER GRANTING                       2                         Case No. 4:19-cv-07123-PJH
      MOTION TO DISMISS REQUEST
      FOR INJUNCTIVE RELIEF
